                                       Case 2:15-cv-01983-JAD-NJK Document 216 Filed 05/03/19 Page 1 of 3




                                  1    Todd L. Bice, Esq., Bar No. 4534
                                       TLB@pisanellibice.com
                                  2    Robert A. Ryan, Bar No. 12084
                                       RR@pisanellibice.com
                                  3    PISANELLI BICE PLLC
                                       400 South 7th Street, Suite 300
                                  4    Las Vegas, NV 89101
                                       Telephone: 702.214.2100
                                  5
                                       Attorneys for Defendant, Bellagio, LLC
                                  6
                                  7
                                  8                                  UNITED STATES DISTRICT COURT

                                  9                                            DISTRICT OF NEVADA

                                  10
                                  11        ANDI KRAJA, an individual;                        Case No. 2:15-cv-01983-APG-NJK
400 SOUTH 7TH STREET, SUITE 300
  LAS VEGAS, NEVADA 89101




                                                                  Plaintiff,
    PISANELLI BICE PLLC




                                  12
                                  13        vs.
                                                                                               DEFENDANT BELLAGIO, LLC’S
                                  14        BELLAGIO, LLC, a Nevada Corporation;              PROTECTIVE NOTICE OF APPEAL
                                            VINCENT ROTOLO, an individual; ROE
                                  15        Business Organizations I-X; and DOE
                                            INDIVIDUALS I-X, Inclusive,
                                  16
                                                                  Defendants.
                                  17
                                  18              Notice is hereby given that Defendant Bellagio, LLC, (“Defendant” or “Bellagio”) by and

                                  19   through its attorneys, Pisanelli Bice, PLLC, hereby appeals to the United States Court of Appeals

                                  20   for the Ninth Circuit from the following: Judgment in a Civil Case (ECF No. 203), and all other

                                  21   decisions and orders made appealable therefrom, including, without limitation:

                                  22              1.     Defendants’ Amended Proposed Jury Instructions (ECF No. 183)

                                  23              2.     Jury Instructions (ECF No. 198)

                                  24              3.     Jury Verdict (ECF No. 202)

                                  25              4.     Bill of Costs (ECF No. 207)

                                  26   //

                                  27   //

                                  28   //

                                                                                       1
                                       Case 2:15-cv-01983-JAD-NJK Document 216 Filed 05/03/19 Page 2 of 3




                                  1           Bellagio acknowledges that this Notice of Appeal may be premature in light of Bellagio’s

                                  2    pending post-trial Motion (ECF No. 214) before the District Court. However, Bellagio files this

                                  3    Protective Notice of Appeal out of an abundance of caution to preserve all rights.

                                  4           DATED this 3rd day of May, 2019.

                                  5                                                 PISANELLI BICE PLLC

                                  6
                                                                                    By:            /s/ Todd L. Bice
                                  7                                                         Todd L. Bice, Esq., Bar No. 4534
                                                                                            Robert A. Ryan, Esq., Bar No. 12084
                                  8                                                         400 South 7th Street, Suite 300
                                                                                            Las Vegas, Nevada 89101
                                  9
                                                                                    Attorneys for Defendant, Bellagio LLC
                                  10
                                  11
400 SOUTH 7TH STREET, SUITE 300
  LAS VEGAS, NEVADA 89101
    PISANELLI BICE PLLC




                                  12
                                  13
                                  14
                                  15
                                  16
                                  17
                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28
                                                                                   2
                                       Case 2:15-cv-01983-JAD-NJK Document 216 Filed 05/03/19 Page 3 of 3




                                  1                                  CERTIFICATE OF SERVICE

                                  2           I HEREBY CERTIFY that I am an employee of PISANELLI BICE PLLC and that, on this

                                  3    3rd day of May, 2019, I caused to be served via the Court's CM/ECF service system a true and

                                  4    correct copy of the above and foregoing DEFENDANT BELLAGIO, LLC’S PROTECTIVE

                                  5    NOTICE OF APPEAL to the following:

                                  6
                                       James P. Kemp, Esq.
                                  7    Victoria L. Neal, Esq.
                                       Kemp & Kemp, Attorneys at Law
                                  8    7435 W. Azure Drive, Suite 110
                                       Las Vegas, NV 89130
                                  9
                                       Attorneys for Plaintiff
                                  10
                                  11                                                          /s/ Christi Colucci
400 SOUTH 7TH STREET, SUITE 300




                                                                                 An employee of PISANELLI BICE PLLC
  LAS VEGAS, NEVADA 89101
    PISANELLI BICE PLLC




                                  12
                                  13
                                  14
                                  15
                                  16
                                  17
                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28
                                                                                3
